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    8
                             UNITED STATES DISTRICT COURT
    9
                            CENTRAL DISTRICT OF CALIFORNIA
   10
                                   WESTERN DIVISION
   11                                            Case No. 2:23-cv-03661
        LOCAL 272 LABOR-MANAGEMENT )
   12   PENSION FUND, on Behalf of Itself )
        and All Others Similarly Situated,   )   CLASS ACTION
   13                                        )
                                 Plaintiff,  )   COMPLAINT FOR VIOLATIONS OF
   14                                        )   THE FEDERAL SECURITIES LAWS
              vs.                            )
   15                                        )
        THE WALT DISNEY COMPANY,             )
   16   ROBERT CHAPEK, CHRISTINE M. )
        McCARTHY, and KAREEM DANIEL, )
   17                                        )
                                 Defendants. )
   18                                        )   DEMAND FOR JURY TRIAL

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    1          Plaintiff Local 272 Labor-Management Pension Fund (“plaintiff”), on behalf
    2 of itself and all other persons similarly situated, by plaintiff’s undersigned attorneys,
    3 for plaintiff’s complaint against defendants, alleges the following based upon
    4 personal knowledge as to plaintiff and plaintiff’s own acts, and upon information
    5 and belief as to all other matters based on the investigation conducted by and through
    6 plaintiff’s attorneys, which included, among other things, a review of certain U.S.
    7 Securities and Exchange Commission (“SEC”) filings, public statements and press
    8 releases by The Walt Disney Company (“Disney” or the “Company”), as well as
    9 media reports about the Company and the facts alleged herein.1 Plaintiff believes
   10 that substantial evidentiary support will exist for the allegations set forth herein after
   11 a reasonable opportunity for discovery.
   12                             JURISDICTION AND VENUE
   13          1.    Jurisdiction is conferred by §27 of the Securities Exchange Act of 1934
   14 (“Exchange Act”), 15 U.S.C. §78aa. The claims asserted herein arise under §§10(b)
   15 and 20(a) of the Exchange Act, 15 U.S.C. §§78j(b) and 78t(a), and SEC Rule 10b-5
   16 promulgated thereunder, 17 C.F.R. §240.10b-5. This Court has jurisdiction over the
   17 subject matter of this action under 28 U.S.C. §1331 and §27 of the Exchange Act.
   18          2.    Venue is proper in this District pursuant to §27 of the Exchange Act
   19 and 28 U.S.C. §1391(b) because the Company conducts business and resides in this
   20 District, and the events and omissions giving rise to the claims asserted herein
   21 occurred in substantial part in this District, including the dissemination of false and
   22 misleading statements in and from this District. Disney is headquartered in this
   23 District.
   24          3.    In connection with the acts alleged in this complaint, defendants,
   25 directly or indirectly, used the means and instrumentalities of interstate commerce,
   26
   27
        1
            Emphasis has been added unless otherwise noted.
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    1 including, but not limited to, the mails, interstate telephone communications, and the
    2 facilities of the national securities markets.
    3                             NATURE OF THE ACTION
    4         4.    This is a securities class action on behalf of all purchasers of Disney
    5 common stock between December 10, 2020 and November 8, 2022, inclusive (the
    6 “Class Period”). Plaintiff seeks to pursue remedies against Disney and certain of the
    7 Company’s current and former senior executives under §§10(b) and 20(a) of the
    8 Exchange Act, and SEC Rule 10b-5 promulgated thereunder.
    9                                        PARTIES
   10         5.    Plaintiff Local 272 Labor-Management Pension Fund, as set forth in
   11 the accompanying certification, which is incorporated by reference herein,
   12 purchased Disney common stock during the Class Period and has been damaged
   13 thereby.
   14         6.    Defendant Disney is a Delaware corporation whose headquarters are
   15 located in Burbank, California. The Company’s common stock is listed on the New
   16 York Stock Exchange (“NYSE”) under the ticker symbol “DIS.”
   17         7.    Defendant Robert Chapek (“Chapek”) was named Disney’s Chief
   18 Executive Officer (“CEO”) in February 2020 and served in that role until he was
   19 fired by the Company’s Board of Directors (“Board”) in November 2022. Prior to
   20 that time, Chapek served in a variety of roles since he joined the Company in 1993,
   21 including Chairman of Disney Parks, Experiences and Products; Chairman of Walt
   22 Disney Parks and Resorts; President of Disney Consumer Products; and President of
   23 Distribution for Walt Disney Studios. Chapek became a Director of the Company
   24 in 2020 and served on the Board’s Executive Committee until his departure.
   25         8.    Defendant Christine M. McCarthy (“McCarthy”) has served as Chief
   26 Financial Officer (“CFO”) of Disney since 2015. Prior to that time McCarthy served
   27 as Executive Vice President, Corporate Real Estate, Alliances and Treasurer of the
   28

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    1 Company. Before joining the Company in 2000, she worked in the banking industry
    2 holding various positions at Imperial Bancorp and First Interstate Bancorp.
    3         9.    Defendant Kareem Daniel (“Daniel”) began working at Disney after he
    4 was hired by Chapek as an intern while studying for his MBA at Stanford. After
    5 receiving his MBA, Daniel took a job in investment banking at Goldman Sachs,
    6 where he worked for approximately three years before returning to Disney. Daniel
    7 held numerous positions at Disney including Director of Corporate Strategy (where
    8 he worked on mergers and acquisitions), Vice President of Distribution Strategy at
    9 Walt Disney Studios, and Executive Vice President of Global Business Operations
   10 at Walt Disney Imagineering (the group that designs theme park attractions). As
   11 part of defendant Chapek’s October 2020 reorganization of the Company, Chapek
   12 promoted Daniel to be Chairman of the newly created Disney Media and
   13 Entertainment Distribution segment, as explained below, where Daniel functioned
   14 as Chapek’s “right-hand man.”
   15         10.   Defendants referenced above in ¶¶7-9 are referred to herein as the
   16 “Individual Defendants.” The Individual Defendants and the Company are referred
   17 to herein as “defendants.”
   18         11.   Each of the Individual Defendants was directly involved in the
   19 management and day-to-day operations of the Company at the highest levels and
   20 was privy to confidential proprietary information concerning the Company and its
   21 business, operations, services, plans, and present and future business prospects. In
   22 addition, the Individual Defendants were involved in drafting, producing, reviewing
   23 and/or disseminating the false and misleading statements and information alleged
   24 herein, and were aware of, or recklessly disregarded, the false and misleading
   25 statements being issued regarding the Company, and approved or ratified these
   26 statements, in violation of the federal securities laws.
   27         12.   As officers and controlling persons of a publicly held company whose
   28 securities are registered with the SEC pursuant to the Exchange Act and traded on

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    1 the NYSE, which is governed by the provisions of the federal securities laws, the
    2 Individual Defendants each had a duty to promptly disseminate accurate, truthful,
    3 and complete information with respect to the Company’s operations, business,
    4 services, expenditures, and present and future business prospects. In addition, the
    5 Individual Defendants each had a duty to correct any previously issued statements
    6 that were materially misleading or untrue, so that the market price of the Company’s
    7 publicly traded shares would be based upon truthful, accurate, and complete
    8 information. Defendants’ false and/or misleading misrepresentations and omissions
    9 during the Class Period violated these specific requirements and obligations.
   10         13.   The Individual Defendants, because of their positions of control and
   11 authority as officers and/or directors of the Company, were able to, and did, control
   12 the contents of various SEC filings, press releases, and other public statements
   13 pertaining to the Company. Each Individual Defendant was provided with copies of
   14 the documents alleged herein to be false and misleading before or shortly after their
   15 issuance, participated in conference calls with investors during which false and
   16 misleading statements were made, and had the ability and opportunity to prevent
   17 their issuance or cause them to be corrected.           Accordingly, each Individual
   18 Defendant is responsible for the accuracy of the public statements detailed herein
   19 and is, therefore, primarily liable for the representations contained therein.
   20                                    BACKGROUND
   21 The Walt Disney Company
   22         14.   The Walt Disney Company (originally known as Disney Brothers
   23 Cartoon Studio) was founded in 1923 by brothers Walt and Roy Disney. The
   24 Company began with the sale of Alice’s Wonderland, a black-and-white silent film
   25 featuring a live-action girl who interacted with animated characters. After making
   26 a series of these “Alice Comedies” the Company transitioned to an all-cartoon series
   27 based on a character named Oswald the Lucky Rabbit before ultimately launching
   28 another cartoon series based on its now iconic character Mickey Mouse.

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    1        15.    A century later, Disney stands as the world’s largest entertainment
    2 group. The Company, together with its subsidiaries, engages in the film and episodic
    3 television content production and distribution business; operates television networks
    4 under the ABC, Disney, ESPN, Freeform, FX, Fox, National Geographic, and Star
    5 brands; and runs studios that produce films under the Walt Disney Pictures, 20th
    6 Century Studios, Marvel, Lucasfilm, Pixar, and Searchlight Pictures banners.
    7        16.    Disney also offers direct-to-consumer (“DTC” or “D2C”) streaming
    8 services through Disney+, Disney+ Hotstar, ESPN+, Hulu, and Star+; sells and
    9 licenses film and television content to third-party television and subscription video-
   10 on-demand services; operates theatrical, home entertainment, and music distribution
   11 services; stages and licenses live entertainment events; and offers post-production
   12 services by Industrial Light & Magic and Skywalker Sound.
   13        17.    In addition, the Company operates theme parks and resorts (such as
   14 Walt Disney World Resort in Florida, Disneyland Resort in California, Disneyland
   15 Paris, Hong Kong Disneyland Resort, and Shanghai Disney Resort), Disney Cruise
   16 Line, Disney Vacation Club, National Geographic Expeditions, Adventures by
   17 Disney, and Aulani, a Disney resort and spa in Hawaii.
   18        18.    Further, Disney licenses its intellectual property to a third party who
   19 owns and operates the Tokyo Disney Resort; offers consumer products, including
   20 by the licensing of trade names, characters, visual, literary, and other IP for use on
   21 merchandise, published materials, and games; operates a direct-to-home satellite
   22 distribution platform; sells branded merchandise through retail, online, and
   23 wholesale businesses; and develops and publishes books, comic books, and
   24 magazines.
   25 In February 2020, Defendant Chapek
      Replaced Disney’s Longtime CEO Robert Iger
   26
            19. In February 2020, Disney announced that then-CEO Robert Iger
   27
      (“Iger”) would be stepping down after a storied, 15-year career leading the
   28

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    1 Company. Iger assumed the role of Executive Chairman and was to direct the
    2 Company’s creative endeavors, while leading the Board and providing the benefit
    3 of his experience, leadership, and guidance through the end of his contract on
    4 December 31, 2021.
    5        20.    Iger reportedly handpicked Chapek, who had worked under Iger for
    6 more than a decade, as his successor. “With the successful launch of Disney’s direct-
    7 to-consumer businesses and the integration of Twenty-First Century Fox well
    8 underway, I believe this is the optimal time to transition to a new CEO,” Iger said at
    9 the time. “I have the utmost confidence in Bob and look forward to working closely
   10 with him over the next 22 months as he assumes this new role and delves deeper into
   11 Disney’s multifaceted global businesses and operations, while I continue to focus on
   12 the Company’s creative endeavors.”
   13 The COVID-19 Pandemic Hit Shortly
      After Chapek Took Over
   14
             21. Just one month after Chapek became CEO, the COVID-19 coronavirus
   15
      spread rapidly around the globe – with the World Health Organization officially
   16
      declaring it a pandemic in March 2020. In response, many countries enacted various
   17
      forms of lockdowns restricting their citizens’ movement and work in an effort to
   18
      contain the spread of the virus.
   19
             22. The pandemic and related lockdowns negatively impacted Disney’s
   20
      businesses, forcing the Company to shutter its theme parks, resorts, and cruise lines.
   21
      Movie distribution, historically the Company’s most lucrative distribution channel,
   22
      was all but eliminated as were live sports, a key programming source for Disney’s
   23
      television networks. The economic impact on the Company was swift and severe.
   24
      In May 2020, Disney announced the suspension of its dividend. In August 2020, the
   25
      Company reported its first quarterly loss in 19 years. And in November 2020, the
   26
      Company reported its first annual loss in more than 40 years.
   27
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    1 Defendant Chapek Reorganized the Company
      Around Its New Streaming Service Disney+
    2
             23. While most of Disney’s businesses suffered in the wake of the COVID-
    3
      19 pandemic, subscriptions to the Company’s new streaming service Disney+
    4
      rapidly took off. When Disney+ was launched in the United States in November
    5
      2019 (before Chapek took over) Disney set an initial target of 60 million to 90
    6
      million subscribers by the end of fiscal 2024.2 After Chapek assumed leadership of
    7
      the Company, however, the service experienced higher growth than originally
    8
      anticipated, gaining over 50 million subscribers in its first five months online (by
    9
      April 2020) and nearly 74 million subscribers in its first year (by November 2020).
   10
      Thus, the success of Disney+ became virtually the only bright spot in an otherwise
   11
      bleak start to Chapek’s tenure as CEO.
   12
             24. Against this backdrop, Chapek decided to ‘go all in’ on Disney’s DTC
   13
      streaming strategy, essentially staking his legacy on the success or failure of
   14
      Disney+. To that end, in October 2020, Disney announced a major reorganization
   15
      of the Company’s media and entertainment operations. The new structure was
   16
      reportedly designed to further accelerate the Company’s focus on a DTC strategy,
   17
      in light of the rapid success of Disney+. As defendant Chapek explained in an
   18
      interview on CNBC, the reorganization was intended to “accelerate our transition to
   19
      a real direct-to-consumer priority company.” He continued: “We believe that we’ve
   20
      got the opportunity to build upon the success of Disney+, which by almost any
   21
      measure has been far and above anybody’s expectations and really use this to
   22
      catalyze our growth and increase shareholder wealth.”
   23
             25. Disney issued a press release that similarly characterized the pivot as
   24
      being based on the success of Disney+, stating in relevant part as follows:
   25
   26
   27   2
           Disney’s fiscal year ends on the Saturday closest to September 30th of the
        calendar year.
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    1        In light of the tremendous success achieved to date in the Company’s
    2        direct-to-consumer business and to further accelerate its DTC strategy,
    3        The Walt Disney Company today announced a strategic reorganization
    4        of its media and entertainment businesses. Under the new structure,
    5        Disney’s world-class creative engines will focus on developing and
    6        producing original content for the Company’s streaming services, as
    7        well as for legacy platforms, while distribution and commercialization
    8        activities will be centralized into a single, global Media and
    9        Entertainment Distribution organization.        The new Media and
   10        Entertainment Distribution group will be responsible for all
   11        monetization of content – both distribution and ad sales – and will
   12        oversee operations of the Company’s streaming services. It will also
   13        have sole P&L accountability for Disney’s media and entertainment
   14        businesses.
   15        26.    The reorganization represented a dramatic departure from Disney’s
   16 historical reporting structure and was hugely controversial within the Company
   17 because it took power away from creative content-focused executives and
   18 centralized it in a new reporting group led by defendant Daniel who reported directly
   19 to defendant Chapek. Prior to the announcement, the Company was organized into
   20 four reporting segments: (i) Media Networks; (ii) Parks, Experiences and Products;
   21 (iii) Studio Entertainment; and (iv) Direct-to-Consumer & International. Chapek
   22 reorganized the Company into just two reporting segments: (i) Disney Media and
   23 Entertainment Distribution (“DMED”); and (ii) Disney Parks, Experiences and
   24 Products (“DPEP”).
   25        27.    Following the reorganization, the distribution and commercialization
   26 activities of the Company’s media and entertainment operations were centralized
   27 into a single reporting segment, namely DMED. DMED’s operating results were in
   28 turn reported across three distribution platforms/significant lines of business: (i)

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   1 Direct-to Consumer (i.e., streaming); (ii) Linear Networks (i.e., cable and broadcast
   2 television networks); and (iii) Content Sales/Licensing (primarily comprising
   3 theatrical, home entertainment, and third-party television and subscription video-on-
   4 demand (“TV/SVOD”) distribution globally).
   5        28.    Thus, DMED became responsible for the monetization of all Disney
   6 content globally – both distribution and advertising sales – and oversaw the
   7 operations of the Company’s streaming services. With this new structure, Chapek
   8 removed budgetary and distribution control from the heads of Disney’s content
   9 groups (much to their dismay) and placed control in the hands of DMED’s new
  10 Chairman, defendant Daniel, who reported directly to his long-time mentor Chapek.
  11 Daniel oversaw the profit and loss management, distribution, operations, sales,
  12 advertising, data, and technology functions for all of the Company’s content
  13 worldwide. In this way, defendants Daniel and Chapek exerted near complete
  14 control over the Company’s strategic decisions around content.
  15        29.    Critically, DMED was responsible for determining which platform the
  16 Company’s content would be released on, whether it be a streaming service, a
  17 television network, or traditional movie theaters. “There is a seismic shift happening
  18 in the marketplace, and you can either lead or follow and we chose to lead,” Chapek
  19 said of the Company’s push into streaming, adding that the focus is now on “what
  20 platform is best to meet those consumer needs.”
  21        30.    “Given the incredible success of Disney+ and our plans to accelerate
  22 our direct-to-consumer business, we are strategically positioning our Company to
  23 more effectively support our growth strategy and increase shareholder value,”
  24 Chapek said at the time. Chapek further explained that:
  25        Managing content creation distinct from distribution will allow us to be
  26        more effective and nimble in making the content consumers want most,
  27        delivered in the way they prefer to consume it. Our creative teams will
  28        concentrate on what they do best – making world-class franchise-based

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   1        content – while our newly centralized global distribution team will
   2        focus on delivering and monetizing that content in the most optimal
   3        way across all platforms, including Disney+, Hulu, ESPN+ and the
   4        coming Star International streaming service.
   5 Defendants’ Fraudulent Scheme
   6        31.       During the Class Period, defendants repeatedly misled investors about
   7 the success of the Disney+ platform by concealing the true costs of the platform,
   8 concealing the expense and difficulty of maintaining robust Disney+ subscriber
   9 growth, and claiming that the platform was on track to achieve profitability and 230-
  10 260 million paid global subscribers by the end of fiscal year 2024.
  11        32.       Defendants made these representations notwithstanding the fact that
  12 initial subscriber numbers for Disney+ had been boosted temporarily and
  13 unsustainably by a low launch price of $6.99 per month, a bevy of additional short-
  14 term, low-cost promotions, and a near-captive audience of consumers who were
  15 homebound due to COVID-19 restrictions. As a result, the consumers most likely
  16 to subscribe to Disney+ had already done so by the start of the Class Period.
  17 Furthermore, Disney was suffering staggering costs in creating the content needed
  18 to attract such a large number of subscribers in the highly competitive streaming
  19 wars that were then raging among Disney’s many competitors such as Netflix, Apple
  20 TV+, Amazon Prime, Paramount+, HBO Max, YouTube, and Peacock. In truth,
  21 during the Class Period, Disney+ was never on track to achieve the 2024 profitability
  22 and subscriber figures provided to investors and such estimates lacked a reasonable
  23 basis in fact.
  24        33.       To conceal these adverse facts, defendants engaged in a fraudulent
  25 scheme designed to hide the extent of Disney+ losses and to make the growth
  26 trajectory of Disney+ subscribers appear sustainable and 2024 Disney+ targets
  27 appear achievable when they were not. Specifically, defendants used the newly
  28 created DMED to inappropriately shift costs out of the Disney+ platform and onto

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   1 legacy platforms. DMED, under the direction of Chapek and Daniel and with the
   2 knowledge of McCarthy, debuted content created for Disney+ initially on a legacy
   3 platform in order to shift marketing and production costs onto that platform. Under
   4 the newly reorganized Company, the initial costs of marketing campaigns were
   5 generally recognized in the DMED distribution platform of initial exploitation, with
   6 allocation of programming and production costs driven by distribution of the
   7 relevant content across windows. As part of a scheme to make Disney+’s financial
   8 performance appear more successful than it was, defendants aired certain shows that
   9 were supposed to be Disney+ originals – such as the mystery show The Mysterious
  10 Benedict Society and the medical drama Doogie Kameāloha, M.D. – first on legacy
  11 television networks such as the Disney Channel. By doing so, a significant portion
  12 of the marketing and production costs of the shows were shifted away from Disney+
  13 and on to the legacy platforms. Despite this cost-shifting scheme, defendants
  14 repeatedly represented during the Class Period that platform distribution decisions
  15 were made based on different reasons, such as customer preferences and what was
  16 best for the business commercially.
  17        34.    Defendants implemented this scheme almost from the beginning of the
  18 October 2020 reorganization, indicating the intent to shift costs in this manner was
  19 a motivating factor behind the reorganization.      For example, The Mysterious
  20 Benedict Society was cast in early 2020 and began production in November 2020,
  21 only one month after Disney announced the creation of DMED and one month before
  22 the 2020 Investor Day which starts the Class Period.
  23          DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
                    STATEMENTS AND OMISSIONS ISSUED
  24                    DURING THE CLASS PERIOD
  25        35.    The Class Period begins on December 10, 2020. On that date, Disney
  26 broadcast the Company’s 2020 Investor Day presentation from its Burbank
  27 headquarters.    The presentation was designed to update investors about the
  28 Company’s businesses, reorganization, and plans, particularly those concerning the

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   1 Company’s DTC strategies. All of the Individual Defendants delivered prepared
   2 remarks; and defendants Chapek and McCarthy also answered questions from
   3 analysts. Shortly after the conclusion of the presentation, Disney made a replay of
   4 the event available and posted downloadable slides that accompanied the
   5 presentation on the Company’s website.
   6        36.    Defendant Chapek boasted at the outset of his 2020 Investor Day
   7 presentation that the Company had already met its original Disney+ subscriber
   8 estimate, stating in relevant part as follows:
   9        Disney+ has exceeded our wildest expectations with 86.8 million
  10        subscribers as of December 2. That’s quite an achievement. This
  11        success has bolstered our confidence in our continued acceleration
  12        towards a DTC-first business model.        And more importantly, it’s
  13        launched The Walt Disney Company into a new era of delivering
  14        consumers truly exceptional entertainment build around our world
  15        renowned brands and franchises.
  16        37.    Defendant Chapek then discussed how the Company’s new distribution
  17 and commercialization team (DMED) would distribute Disney’s content on the
  18 platform most beneficial to consumers, stating in pertinent part as follows:
  19               Our unique access to an incredible number of consumer touch
  20        points across our businesses gives us a clear advantage. Based on
  21        insights gained from this wealth of data, our distribution and
  22        commercialization team is able to better inform our creatives of
  23        consumer preferences. And the creative teams are empowered to make
  24        the high-quality branded entertainment they believe will resonate with
  25        audiences. This new organization also gives us maximum flexibility in
  26        determining when and on which platform content will be available.
  27        And this is especially important now given consumers’ rapidly
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   1        changing consumption behaviors and the prolonged uncertainty due to
   2        the pandemic.
   3               As circumstances change, we will continue to consider these
   4        and other critical factors when determining what steps we may take
   5        to most effectively distribute our programming. Our goal is always to
   6        serve consumers in the best way possible.
   7        38.    During defendant Daniel’s presentation, he emphasized that the
   8 Company would distribute Disney’s content on the platform most beneficial to
   9 consumers, stating in relevant part as follows:
  10               As a company, we were set up to achieve success in an
  11        increasingly dynamic environment. And as Bob mentioned, consumer
  12        behavior really does drive our decision-making. While we have
  13        always valued the data gained through our numerous consumer
  14        touch points, the rapid growth of our portfolio of D2C services
  15        provides us with an even greater opportunity to understand their
  16        preferences. And we are using these insights to help determine how
  17        to optimally engage with our audiences. In fact, our team uses all of
  18        the information available to us when determining how best to allocate
  19        our creative content budgets across all platforms, with the goal to
  20        maximize both audience engagement and commercial impact. And
  21        we share this budgetary framework and critical insights with our
  22        creative partners as part of a truly collaborative planning process that
  23        delivers high-quality branded entertainment to achieve our established
  24        growth objectives for all of our platforms, from direct-to-consumer to
  25        linear networks to theatrical exhibition.
  26               This exchange of information is a key pillar to our organization’s
  27        overall strategy, which also relies on the increased flexibility provided
  28        by our mix of distribution options, including, in no particular order,

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   1        releasing content though traditional windows, such as theaters and
   2        linear networks before it is made available on our direct-to-consumer
   3        services, particularly recognizing the actual exhibition’s ability to help
   4        establish major franchises that are at the heart of our Disney flywheel;
   5        providing our accretive output simultaneously, day and date on both
   6        traditional and D2C platforms, in concert with our premier access
   7        commercialization strategy for the D2C component; and exclusively
   8        distributing our content on our streaming services, providing a constant
   9        flow of new titles for subscriber acquisition and to minimize churn. Of
  10        course, regardless of where it originates, all of our films and episodic
  11        series will inevitably end up as part of our incredibly rich and
  12        increasingly robust library of content on our D2C platforms.
  13              Since streaming has quickly become a preferred method of
  14        consumption, we are prioritizing our D2C platforms, both in terms of
  15        how we distribute our content and also through an increased
  16        investment in our original programming for Disney+, Hulu, ESPN+
  17        and the upcoming Star-branded international general entertainment
  18        offering.
  19                                     *      *      *
  20              One of the primary benefits of our new organizational structure
  21        is our ability to quickly reevaluate and adjust our plans in light of
  22        changes in the marketplace, and we will continue to shift and optimize
  23        our mix of window theatrical, day-and-date and D2C exclusive
  24        offerings according to what is best for the consumer and our business.
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   1        39.    During defendant McCarthy’s presentation, she provided profitability
   2 and subscriber estimates for Disney+ (and related foreign streaming services such as
   3 Disney+ Hotstar3), stating in pertinent part as follows:
   4               Today, I’m going to provide guidance across our services for
   5        fiscal 2024 to be consistent with the time frame we guided to at our
   6        last Investor Day. Let me start with Disney+ which, as you heard
   7        earlier today, had 86.8 million total paid subscribers as of December 2,
   8        approximately 30% of which were Disney+ Hotstar subscribers.
   9                                     *      *     *
  10               If you recall, last year, we said that we expected Disney+ to have
  11        between 60 million and 90 million subscribers by the end of fiscal 2024.
  12        But as you know, our subscriber growth to date is well ahead of our
  13        original expectations. And we have an incredible and growing slate of
  14        high-quality content that will capture a broader global audience and
  15        further fuel Disney+, making it what we believe is an even more
  16        compelling product.
  17               These factors, along with the addition of our Star general
  18        entertainment offering in various markets and the growth of Disney+
  19        Hotstar, give us an even greater optimism about our future. And they
  20        enable us to significantly increase our subscriber guidance. We now
  21        expect that by the end of fiscal 2024, we will have between 230 million
  22        and 260 million total paid Disney+ subscribers globally compared to
  23        the 60 million to 90 million we shared last year. I’ll note that our
  24        prior outlook did not anticipate the launch of Disney+ Hotstar, which
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     3
         Disney+ Hotstar is an Indian subscription video on demand streaming service
  26 owned by Disney that operates in India. Disney+ Hotstar was created after Disney’s
     2019 acquisition of 21st Century Fox, Star India’s parent company. Star India had
  27 launched Hotstar in 2015 but it was ultimately integrated with Disney’s global
     streaming brand Disney+ as Disney+ Hotstar in April 2020.
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   1        we now expect could be between 30% and 40% of our subscriber base
   2        by the end of fiscal 2024.
   3                                     *     *      *
   4               Given the value of growing our subscriber base, as you’ve seen
   5        today, we plan to reinvest revenue generated from our better-than-
   6        expected subscriber growth back into content investment. Thus we
   7        continue to expect Disney+ to achieve profitability in fiscal 2024.
   8        Again, I’ll note that this guidance includes Disney+, Star, Star+ and
   9        Disney+ Hotstar.
  10        40.    The slides that accompanied the 2020 Investor Day presentations
  11 reiterated the Company’s estimate that, by the end of fiscal year 2024, Disney+
  12 would be profitable and would have between 230-260 million paid global
  13 subscribers (30%-40% of which would be from Disney+ Hotstar). These new
  14 estimates represented an astounding three-fold increase from prior estimates
  15 without any degradation in expected profitability for the segment.
  16        41.    During the 2020 Investor Day’s Q&A session, in response to a question
  17 from a Morgan Stanley analyst, defendant Chapek explained the decision-making
  18 process that went into determining when and on which platform or platforms
  19 Disney’s content would be distributed, stating in relevant part as follows:
  20               So to me, it’s really about over – of the 100 titles that we
  21        announced today, 80% of them are going first to Disney+, which I think
  22        says something about our pivot over to Disney+. But at the same time,
  23        we had $13 billion of box office last year. And that’s obviously not
  24        something to sneeze at. And we know as The Walt Disney Company
  25        who’ve got this plethora of franchises that we just showed you today,
  26        that we build those franchises through the theatrical exhibition window
  27        and we did $13 billion back in ‘19. So for us, it’s about balance. And
  28        it’s about following the consumer as they make that transition.

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   1               And so part of why we did the reorganization that we did is to
   2         ensure that we’ve got an organization that’s flexible to read all the
   3         cues, whether it’s the cessation of COVID or it’s changing consumer
   4         behavior so that we can very nimbly make decisions as we go forward.
   5         And that 80% direct-to-consumer is not just Disney+, obviously, but
   6         that includes Hulu and Star as well.
   7         42.   Following the 2020 Investor Day, analyst reports heralded the
   8 remarkable claims of rapid and profitable Disney+ growth. For example, a Barclays
   9 analyst report proclaimed that “DTC guidance blows past consensus expectations”;
  10 a Wolfe Research report trumpeted “Expectations Blown Away”; a Morgan Stanley
  11 report cheered “To Infinity & Beyond”; and an RBC Capital Market Reports
  12 figuratively burst into song: “Disney, Disney, Disney, Can’t You See? Sometimes
  13 Your Words Just Hypnotize Me.” Some analysts even predicted that Disney+ might
  14 surpass Netflix as the most widely adopted paid streaming service in the world.
  15 Defendants’ representations had their intended effect, pushing the price of Disney
  16 common stock to all-time highs of over $180 per share by the end of December 2020.
  17         43.   During the Class Period, defendants repeatedly reiterated the fiscal year
  18 2024 profitability and global subscriber estimates for Disney+. For instance, on the
  19 Company’s February 11, 2021 earnings call for its first fiscal quarter of 2021,
  20 defendant McCarthy confirmed that Disney+ was expected to reach profitability in
  21 fiscal 2024, stating in pertinent part as follows:
  22               Okay. Thanks, Brett. You’re absolutely right. Peak losses, we
  23         expect in this fiscal year. We said at our Investor Day, which wasn’t
  24         too long ago, that we expected to reach profitability in fiscal 2024.
  25         We’re not going to change that at this point, although we are very
  26         pleased with the results that we just announced. But we are also, given
  27         the value of growing our sub base, we are continuing to invest in high-
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   1         quality content. We believe that content is the single biggest driver to
   2         not only acquiring subs, but retaining them.
   3         44.    On the Company’s May 13, 2021 earnings call for its second fiscal
   4 quarter of 2021, defendant Chapek reiterated that Disney was on track to achieve its
   5 Disney+ 2024 paid global subscriber estimate, stating in relevant part as follows:
   6                We are uniquely positioned with the most compelling brands and
   7         franchises in entertainment, and we continue to deliver the high-quality,
   8         one-of-a-kind content that consumers want. That’s clearly reflected in
   9         the success of Disney+ which amassed nearly 104 million paid
  10         subscribers as of the end of the second fiscal quarter. We are on track
  11         to achieve our guidance of 230 million to 260 million subscribers by
  12         the end of fiscal 2024.
  13         45.    During the same call, defendant McCarthy likewise stated: “As Bob
  14 mentioned earlier, we remain right on track to reach our fiscal 2024 guidance of
  15 230 million to 260 million subs, powered by the addition of 30 million paid Disney+
  16 subs in the first half of the year.”
  17         46.    The statements referenced in ¶¶35-41 and 43-45 above were materially
  18 false and misleading when made because they failed to disclose the following
  19 adverse facts pertaining to the Company’s business, operations, and financial
  20 condition, which were known to or recklessly disregarded by defendants as follows:
  21                (a)   that Disney+ was suffering decelerating subscriber growth,
  22 losses, and cost overruns;
  23                (b)   that the true costs incurred in connection with Disney+ had been
  24 concealed by Disney executives by debuting certain content intended for Disney+
  25 initially on Disney’s legacy distribution channels and then making the shows
  26 available on Disney+ thereafter in order to improperly shift costs out of the Disney+
  27 segment;
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   1               (c)    that DMED had made platform distribution decisions based not
   2 on consumer preference, consumer behavior, or the desire to maximize the size of
   3 the audience for the content as represented, but based on the desire to hide the full
   4 costs of building Disney+’s content library;
   5               (d)    that the Company was not on track to achieve its 2024 Disney+
   6 paid global subscriber and profitability targets, that such targets were not achievable,
   7 and that such estimates lacked a reasonable basis in fact; and
   8               (e)    that, as a result of (a)-(d) above, defendants had materially
   9 misrepresented the actual performance of Disney+, the sustainability of Disney+’s
  10 historical growth trends, the profitability of Disney+, and the likelihood that Disney
  11 could achieve its 2024 Disney+ subscriber and profitability targets.
  12        47.    On September 21, 2021, the Company and defendant Chapek gave a
  13 virtual presentation at the Goldman Sachs Communacopia Conference. During the
  14 presentation, Chapek acknowledged that Disney+ subscriber growth had slowed in
  15 the fourth quarter of the fiscal year ended October 2, 2021: “In Q4, I think what you
  16 can expect to see is that our global paid subs will increase by low single-digit
  17 millions of subscribers versus Q3.”
  18        48.    This new information concerning the number of global paid Disney+
  19 subscribers failed to meet the market’s expectations. Prior to the market’s close that
  20 day, CNBC reported the disappointing news in pertinent part as follows:
  21               Disney’s CEO Bob Chapek said Tuesday his company’s
  22        streaming service growth has “hit some headwinds” related to
  23        coronavirus, causing shares to close lower for the day.
  24               Disney expects to add “low single-digit millions” of streaming
  25        subscribers in the fourth quarter, Chapek said. Disney shares ended the
  26        session down 4.1% after Chapek’s comments at the virtual Goldman
  27        Sachs Communacopia Conference.
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   1               Chapek said “mobilizing partners” in Latin America to push
   2        Disney’s new Star+ streaming service, the Covid-related suspension of
   3        the India Premier League – whose games air on Disney’s Hotstar – and
   4        production delays from the delta variant have all hurt subscriber
   5        numbers in the fourth quarter.
   6               “We are going to see a little bit more noise than maybe the Street
   7        projects quarter to quarter,” Chapek said. “The resurgence of Covid
   8        and delta did impact some of our productions.”
   9               Chapek’s forecast is significantly lower than some analyst
  10        estimates. Deutsche Bank analyst Bryan Kraft had projected Disney+
  11        net adds of about 13 million in the quarter.
  12               Global production delays will be “very short term,” Chapek said.
  13        But he acknowledged there won’t be as much new programming in the
  14        fourth quarter “than we might have expected,” which will affect
  15        subscriber growth.
  16               Disney has projected 230 million to 260 million Disney+
  17        subscribers by 2024. Disney said in August it had 116 million Disney+
  18        subscribers.
  19               Chapek cautioned investors that quarter-to-quarter growth “is not
  20        linear” and some choppiness is expected. Still, he remained confident
  21        in Disney’s long-term growth outlook.
  22        49.    In response to the news, the price of Disney common stock closed down
  23 $7.44 per share, or more than 4%, from the prior day’s close of $178.61 on
  24 September 20, 2021 on abnormally high volume of over 23 million shares traded.
  25 Despite these revelations, the price of Disney common stock remained artificially
  26 inflated because defendants failed to disclose the full truth. In addition, defendants
  27 continued to make materially false and misleading statements which continued to
  28 artificially inflate the price of Disney common stock. For example, during the

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   1 September 21, 2021 presentation, defendant Chapek stated: “We’re very confident
   2 about our long-term sub growth as we have been.”
   3         50.   After the market closed on November 10, 2021, Disney issued a press
   4 release, which was also filed with the SEC that day as an exhibit to a Form 8-K,
   5 reporting the Company’s financial results for its fourth quarter and fiscal year ended
   6 October 2, 2021. Disney posted quarterly results that missed Wall Street’s already
   7 diminished expectations as the Company saw a dramatic slowdown in Disney+
   8 subscribers. The Company added just 2.1 million customers during the quarter (the
   9 smallest quarterly gain since the service’s launch two years prior), revenue of $18.53
  10 billion, and adjusted earnings per share of 37 cents – all of which were below
  11 consensus estimates of 119.6 million subscribers, $18.78 billion in revenues, and
  12 adjusted earnings per share of 49 cents, as compiled by Bloomberg.
  13         51.   In response to this news, the price of Disney common stock closed
  14 down $12.34 per share, or more than 7%, on November 11, 2021 on abnormally high
  15 volume of over 62 million shares traded. Despite these revelations, the price of
  16 Disney common stock remained artificially inflated because defendants failed to
  17 disclose the full truth. In addition, defendants continued to make materially false
  18 and misleading statements which continued to artificially inflate the price of Disney
  19 common stock as detailed below.
  20         52.   On the Company’s earnings call after the market closed on November
  21 10, 2021, defendant Chapek doubled-down on the Company’s prior forecast that the
  22 streaming service would reach profitability and have between 230 million and 260
  23 million paid global Disney+ subscribers by the end of fiscal 2024, stating in pertinent
  24 part as follows:
  25               I want to reiterate that we remain focused on managing our DTC
  26         business for the long term, not quarter-to-quarter, and we’re confident
  27         we are on the right trajectory to achieve the guidance that we provided
  28         at last year’s Investor Day, reaching between 230 million and 260

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   1         million paid Disney+ subscribers globally by the end of fiscal year
   2         2024, and with Disney+ achieving profitability that same year.
   3         53.     Defendant McCarthy also reiterated the Company’s prior subscriber
   4 growth and profitability forecast, stating in pertinent part as follows:
   5                 As Bob mentioned, we are increasing our overall long-term
   6         content expense for Disney+, and we are well positioned to achieve the
   7         subscriber target of 230 million to 260 million by fiscal 2024 that we
   8         laid out at last year’s Investor’s Day. And we also remain confident
   9         in our expectation that Disney+ will achieve profitability in fiscal
  10         2024.
  11         54.     On August 10, 2022, Disney issued a press release, which was also filed
  12 with the SEC as an exhibit to a Form 8-K, reporting the Company’s results for the
  13 third fiscal quarter of 2022 ended July 2, 2022. Disney also held an earnings call to
  14 discuss its results at that time. During the call, defendant McCarthy lowered the
  15 Company’s 2024 guidance for Disney+ by only 15 million on both the low end and
  16 high end – still far above the actual performance of the platform – and reaffirmed
  17 the 2024 profitability estimate, stating in relevant part as follows:
  18                 Finally, before we move to Q&A, I want to spend some time
  19         sharing a few updates on our fiscal 2024 guidance for Disney+. We
  20         are providing more detail on subscriber targets by separating our
  21         guidance into 2 categories: core Disney+ and Disney+ Hotstar.
  22         Excluding the impact of any significant future macro headwinds, our
  23         core Disney+ subscriber target range is 135 million to 165 million by
  24         the end of fiscal 2024, largely consistent with previously provided
  25         guidance that non-Hotstar Disney+ subscribers in 2024 would
  26         approximate 60% to 70% of the expected 230 million to 260 million
  27         total subscriber base.
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   1                 We are, however, updating subscriber guidance for Disney+
   2        Hotstar to up to 80 million subscribers by the end of fiscal 2024. We
   3        intend to refine this target over time as subscriber visibility in India will
   4        be clearer once the ICC and BCCI cricket rights sales processes are
   5        completed. As you may know, we recently made the disciplined
   6        decision to not proceed with the Indian Premier League digital rights,
   7        and we’ll evaluate these rights with that same discipline.
   8                 As we sit here today, we remain confident that Disney+ will
   9        achieve profitability in fiscal 2024 and look forward to several
  10        upcoming catalysts, including reaching a steady state of tentpole
  11        original content releases, delivery of premium general entertainment
  12        and international local originals and the upcoming launch of our ad-
  13        supported tier, alongside the new pricing structure announced earlier
  14        today.
  15        55.      The statements referenced in ¶¶49 and 52-54 above were materially
  16 false and misleading when made because they failed to disclose the following
  17 adverse facts pertaining to the Company’s business, operations, and financial
  18 condition, which were known to or recklessly disregarded by defendants as follows:
  19                 (a)   that Disney+ was suffering decelerating subscriber growth,
  20 losses, and cost overruns;
  21                 (b)   that the true costs incurred in connection with Disney+ had been
  22 concealed by Disney executives by debuting certain content intended for Disney+
  23 initially on Disney’s legacy distribution channels and then making the shows
  24 available on Disney+ thereafter in order to improperly shift costs out of the Disney+
  25 segment;
  26                 (c)   that DMED had made platform distribution decisions based not
  27 on consumer preference, consumer behavior, or the desire to maximize the size of
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   1 the audience for the content as represented, but based on the desire to hide the full
   2 costs of building Disney+’s content library;
   3               (d)     that the Company was not on track to achieve even the reduced
   4 2024 Disney+ paid global subscriber and profitability targets, that such targets were
   5 not achievable, and that such estimates lacked a reasonable basis in fact; and
   6               (e)     that, as a result of (a)-(d) above, defendants had materially
   7 misrepresented the actual performance of Disney+, the sustainability of Disney+’s
   8 historical growth trends, the profitability of Disney+, and the likelihood that Disney
   9 could achieve its 2024 Disney+ subscriber and profitability targets.
  10        56.    Then, on November 8, 2022, Disney issued a press release reporting the
  11 Company’s financial results for its fourth quarter and fiscal year ended October 1,
  12 2022. Disney missed analyst estimates by wide margins on both the top and bottom
  13 lines. Revenue in the quarter grew just 9% to $20.15 billion, below estimates at
  14 $21.36 billion. Sales, at $20.2 billion, fell about $1 billion short of analysts’
  15 projections. Earnings, excluding certain items, fell to 30 cents share, missing the
  16 average estimate of 51 cents from analysts surveyed by Bloomberg. The Company’s
  17 DTC segment, which includes streaming services Disney+, ESPN+, Hulu, and
  18 Hotstar, reported a monumental operating loss of $1.47 billion compared to a $630
  19 million loss in the same quarter the year prior. Revenue in the segment increased
  20 just 8% to $4.9 billion. The Company also reported a decline in its average revenue
  21 per Disney+ subscriber, as more customers subscribed through a discounted bundle
  22 with the Company’s other services. Notably, the bundled offering made up about
  23 40% of domestic subscribers, confirming that Disney was relying on short-term
  24 promotional efforts to boost subscriber growth while impairing the platform’s long-
  25 term profitability.
  26        57.    In response to this news, the price of Disney common stock collapsed
  27 $13.15 per share, or more than 13%, in a single day on November 9, 2022 on
  28 abnormally high volume of over 62 million shares traded.

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   1        58.     Less than two weeks later, and only five months after the Board voted
   2 to extend Chapek’s employment contract, the Company announced on November
   3 20, 2022 that the Board had terminated Chapek and replaced him with Iger.
   4 Defendant Daniel was let go within 24 hours thereafter.
   5        59.     On November 21, 2022, The Wall Street Journal reported on some of
   6 the behind-the-scenes disputes and issues that ultimately led to Chapek’s dismissal,
   7 whose position at the Company had reportedly “been shaky for months.”
   8 Significantly, the report also included information concerning a previously
   9 undisclosed cost-shifting scheme employed by defendants to hide certain expenses
  10 that should have been attributed to Disney+ so that the streaming service would
  11 appear closer to profitability than in fact was the case. Not only did the Individual
  12 Defendants know about this strategy and intentionally employ it to deceive investors,
  13 but reportedly defendant McCarthy had internally expressed her concerns about its
  14 propriety. The report stated in pertinent part as follows:
  15                Disney is moving some shows that were supposed to be Disney+
  16        originals and air them first on other networks including the Disney
  17        Channel, people familiar with the matter said. By doing so, the costs
  18        of production and marketing of the shows – which included mystery
  19        show “The Mysterious Benedict Society” and medical drama “Doogie
  20        Kameāloha, M.D.” – would be shifted away from the streaming service,
  21        making its financial performance look better, they said.
  22                Ms. McCarthy was concerned about this strategy, the people
  23        said.
  24        60.     Other news outlets thereafter similarly reported that “Disney
  25 Discovered Bob Chapek Was ‘Cooking the Books’ to Hide Massive Losses in
  26 Revenue,” and that “Bob Chapek Shifted Budgets to Disguise Disney+’s Massive
  27 Monetary Losses.”
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   1        61.    On February 8, 2023, the Company reported financial results for its first
   2 quarter fiscal year 2023, ended December 31, 2022. Disney reported that Disney+
   3 lost 2.4 million subscribers and the DTC business reported an increase in operating
   4 loss from $0.5 billion to $1.1 billion due in part to a higher loss at Disney+ which
   5 reflected higher programming and production costs.
   6        62.    On a conference call that same day to discuss the results, Iger
   7 announced a broad restructuring of the Company aimed at putting the Company’s
   8 streaming business on a path to both profitability and growth, stating in relevant part
   9 as follows:
  10               In 2019, Disney+ launched, with nearly 500 films and 7,500
  11        episodes of television from across the world of Disney. Three years
  12        later, its meteoric rise is considered one of the most successful results
  13        in the history of the media business.
  14               Now it’s time for another transformation, one that rationalizes
  15        our enviable streaming business and puts it on a path to sustained
  16        growth and profitability while also reducing expenses to improve
  17        margins and returns and better positioning us to weather future
  18        disruption, increased competition and global economic challenges. We
  19        must also return creativity to the center of the company, increase
  20        accountability, improve results and ensure the quality of our content
  21        and experiences.
  22        63.    Iger made clear that an important component of restoring the
  23 Company’s success was returning power to the Company’s creative executives,
  24 including distribution decisions, which Chapek had taken away as part of his
  25 October 2020 restructuring, stating in relevant part as follows:
  26               Now the details. Our company is fueled by storytelling and
  27        creativity. And virtually every dollar we earn, every transaction, every
  28        interaction with our consumers emanates from something creative. I’ve

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   1        always believed that the best way to spur great creativity is to make
   2        sure that people who are managing the creative process feel
   3        empowered.
   4               Therefore, our new structure is aimed at returning greater
   5        authority to our creative leaders and making them accountable for how
   6        their content performs financially. Our former structure severed that
   7        link, and it must be restored. Moving forward, our creative teams will
   8        determine what content we’re making, how it is distributed and
   9        monetized and how it gets marketed.
  10        64.    Iger additionally announced that the Company would be reorganized
  11 into three core business segments from which creative executives would purportedly
  12 be able to maximize revenue and growth, stating in pertinent part as follows:
  13               Managing costs, maximizing revenue and driving growth from
  14        the content being produced will be their responsibility. Under our
  15        strategic reorganization, there will be 3 core business segments: Disney
  16        Entertainment, ESPN and Disney Parks, Experiences and Products.
  17               Alan Bergman and Dana Walden will be Co-Chairman of Disney
  18        Entertainment, which will include the company’s full portfolio of
  19        entertainment, media and content businesses globally, including
  20        streaming. Jimmy Pitaro will continue to serve as Chairman of ESPN,
  21        which will include ESPN Networks, ESPN+ and our international
  22        sports channels. And Josh D’Amaro will continue to be Chairman of
  23        Disney Parks, Experiences and Products, which will include our theme
  24        parks, resort destinations and cruise line as well as Disney’s consumer
  25        products, games and publishing businesses.
  26               These organizational changes will be implemented immediately,
  27        and we will begin reporting under the new business structure by the end
  28        of the fiscal year. This reorganization will result in a more cost-

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   1        effective, coordinated and streamlined approach to our operations. And
   2        we are committed to running our businesses more efficiently, especially
   3        in a challenging economic environment.
   4        65.    Iger also provided important details regarding the Company’s efforts to
   5 rein in costs, indicating that Disney would be cutting $5.5 billion in costs with $2.5
   6 billion in non-content cuts (including 7,000 jobs) and $3 billion in content savings
   7 over the next few years, stating in relevant part as follows:
   8               In that regard, we are targeting $5.5 billion of cost savings across
   9        the company. First, reductions to our non-content costs will total
  10        roughly $2.5 billion, not adjusted for inflation. $1 billion in savings is
  11        already underway, and Christine will provide more details. But in
  12        general, the savings will come from reductions in SG&A and other
  13        operating costs across the company.
  14               To help achieve this, we will be reducing our workforce by
  15        approximately 7,000 jobs. While this is necessary to address the
  16        challenges we’re facing today, I do not make this decision lightly. I
  17        have enormous respect and appreciation for the talent and dedication of
  18        our employees worldwide, and I’m mindful of the personal impact of
  19        these changes.
  20               On the content side, we expect to deliver approximately $3
  21        billion in savings over the next few years, excluding sports. Christine
  22        will be providing more details during the call. Turning to our streaming
  23        businesses. I’m proud of what we’ve been able to achieve since the
  24        launch of Disney+ just 3 years ago. We are delivering more content
  25        with greater quality in more ways, in more places and to larger
  26        audiences.
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   1         66.   Additionally, Iger stated that the Company would no longer be
   2 providing long-term subscriber guidance for Disney+, stating in relevant part as
   3 follows:
   4               Like many of our peers, we will no longer be providing long-
   5         term subscriber guidance in order to move beyond an emphasis on
   6         short-term quarterly metrics, although we will provide color on relevant
   7         drivers. Instead, our priority is the enduring growth and profitability of
   8         our streaming business.
   9         67.   Then, on May 10, 2023, the Company reported financial results for its
  10 second quarter fiscal year 2023, ended April 1, 2023. Disney reported that Disney+
  11 had lost subscribers for the second quarter in a row, further confirming that the 2024
  12 Disney+ targets had never been achievable. During the quarter Disney+ had lost 4
  13 million paid subscribers from the prior quarter, which shocked analysts who had
  14 expected the service to add 1.7 million subscribers. Streaming revenue increased
  15 12% from a year earlier in part due to recent price hikes necessitated by the streaming
  16 service’s horrendous losses. On a conference call that same day to discuss the
  17 results, Iger again acknowledged that Disney’s streaming business needed to
  18 rebalance its streaming business model in order to have a chance to reach
  19 profitability, stating that “it’s critical we rationalize the volume of content we’re
  20 creating and what we’re spending to produce our content.” He further announced
  21 that Disney was planning another price increase, at least for the Disney+ ad-free tier,
  22 risking even further subscriber losses.
  23         68.   In response to this news, the price of Disney common stock declined
  24 $8.83 per share, or more than 8% in a single day on May 11, 2023 on abnormally
  25 high volume of over 57 million shares traded.
  26         69.   As a result of defendants’ wrongful acts and omissions, and the
  27 precipitous declines in the market value of Disney common stock, plaintiff and other
  28

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   1 Class members (defined below) have suffered significant losses and damages for
   2 which they seek redress through this action.
   3                    ADDITIONAL SCIENTER ALLEGATIONS
   4         70.   As alleged herein, defendants acted with scienter in that defendants
   5 knew, or recklessly disregarded, that the public documents and statements they
   6 issued and disseminated to the investing public in the name of the Company, or in
   7 their own name, during the Class Period were materially false and misleading.
   8 Defendants knowingly and substantially participated or acquiesced in the issuance
   9 or dissemination of such statements and documents as primary violations of the
  10 federal securities laws.     Defendants, by virtue of their receipt of information
  11 reflecting the true facts regarding Disney, and their control over and/or receipt and/or
  12 modification of Disney’s materially false and misleading statements, were active and
  13 culpable participants in the fraudulent scheme alleged herein.
  14         71.   Defendants knew and recklessly disregarded the false and misleading
  15 nature of the information they caused to be disseminated to the investing public. The
  16 fraudulent scheme described herein could not have been perpetuated during the
  17 Class Period without the knowledge and complicity of, or at least the reckless
  18 disregard by, personnel at the highest levels of the Company, including the
  19 Individual Defendants.
  20         72.   The Individual Defendants, because of their positions with Disney,
  21 controlled the contents of Disney’s public statements during the Class Period. The
  22 Individual Defendants were each provided with or had access to the information
  23 alleged herein to be false and misleading prior to or shortly after its issuance and had
  24 the ability and opportunity to prevent its issuance or cause it to be corrected.
  25 Because of their positions and access to material, non-public information, the
  26 Individual Defendants knew or recklessly disregarded that the adverse facts
  27 specified herein had not been disclosed to and were being concealed from the public
  28 and that the positive representations that were being made were false and misleading.

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   1        73.    Furthermore, in order to effectuate defendants’ fraudulent accounting
   2 scheme, defendant Chapek reorganized the Company in October 2020 by
   3 centralizing the distribution and commercialization of all of Disney’s content into a
   4 new single reporting segment, DMED, and installing defendant Daniel, Chapek’s
   5 long-time protégée, as DMED’s Chairman and direct report.           DMED became
   6 responsible for all monetization of all Disney content globally – both distribution
   7 and advertising sales – and oversaw the operations of the Company’s streaming
   8 services. Critically, Daniel along with Chapek, were then able to determine which
   9 platform the Company’s content would be released on, whether it be a streaming
  10 service, a cable television network, or in traditional movie theaters. These changes
  11 allowed Chapek and Daniel to effectuate the cost-shifting scheme described above,
  12 which was implemented almost from the beginning of the October 2020
  13 reorganization.
  14        74.    Tellingly, the October 2020 reorganization represented a dramatic
  15 departure from Disney’s historical reporting structure and was highly controversial
  16 within the Company because it took power away from creative executives in the film
  17 and television studios who felt their authority was slipping away as Chapek removed
  18 budgetary and distribution control from the heads of Disney’s content groups.
  19        75.    As reported by The Wall Street Journal, defendant McCarthy was
  20 aware of and concerned about the Company’s accounting.             Notwithstanding,
  21 McCarthy filed signed certifications with the SEC on November 24, 2021 stating
  22 that the Form 10-K for the fiscal year ended October 2, 2021 (“2021 Form 10-K”)
  23 did not contain any false or misleading statements of fact, fairly presented Disney’s
  24 financial condition and results of operations, was the product of effective internal
  25 controls, and was free from any fraud, whether or not material. Defendant Chapek
  26 signed essentially identical certifications that were also included in the 2021 Form
  27 10-K. These certifications corroborate the importance of the cost-shifting scheme
  28 to investors as well as defendants’ intent to deceive investors about the scheme.

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   1        76.    In short, defendants’ fraudulent cost-shifting scheme was designed and
   2 overseen by defendants Chapek and Daniel, and permitted and furthered by
   3 defendant McCarthy, each of whom is liable as a result of the inherently deceptive
   4 nature of the scheme.
   5        77.    Additionally, given the Individual Defendants’ positions at the
   6 Company and their roles in the fraud, knowledge of the facts underlying the fraud
   7 can be imputed to the Individual Defendants because the fraud relates to Disney’s
   8 core operations. As detailed herein, defendants repeatedly emphasized that Disney
   9 was shifting the Company’s focus to its DTC streaming service Disney+. Indeed,
  10 Chapek reorganized the Company in October 2020 specifically in order to accelerate
  11 and advance the Company’s transition to its new DTC-focused strategy centered
  12 around Disney+.
  13        78.    Lastly, the termination of Chapek and Daniel soon after the problems
  14 in the Disney+ platform were revealed in November 2022 further bolsters a
  15 compelling inference of scienter.
  16                                 NO SAFE HARBOR
  17        79.    Disney’s “Safe Harbor” warnings accompanying its reportedly
  18 forward-looking statements (“FLS”) issued during the Class Period were ineffective
  19 to shield those statements from liability. To the extent that projected revenues and
  20 earnings were included in the Company’s financial reports prepared in accordance
  21 with Generally Accepted Accounting Principles (“GAAP”), including those filed
  22 with the SEC on Form 8-K, they are excluded from the protection of the statutory
  23 Safe Harbor. 15 U.S.C. §78u-5(b)(2)(A).
  24        80.    Defendants are also liable for any false or misleading FLS pled because,
  25 at the time each FLS was made, the speaker knew the FLS was false or misleading
  26 and the FLS was authorized and approved by an executive officer of Disney who
  27 knew that the FLS was false. None of the historic or present tense statements made
  28 by defendants were assumptions underlying or relating to any plan, projection, or

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   1 statement of future economic performance, as they were not stated to be such
   2 assumptions underlying or relating to any projection or statement of future economic
   3 performance when made, nor were any of the projections or forecasts made by
   4 defendants expressly related to or stated to be dependent on those historic or present
   5 tense statements when made.
   6               APPLICATION OF PRESUMPTION OF RELIANCE:
                            FRAUD ON THE MARKET
   7
             81.   At all relevant times, the market for Disney common stock was an
   8
       efficient market for the following reasons, among others:
   9
                   (a)    Disney common stock met the requirements for listing, and was
  10
       listed and actively traded on the NYSE, a highly efficient and automated market;
  11
                   (b)    according to the Company’s Form 10-K for the fiscal year ended
  12
       October 2, 2021, Disney had more than 1.8 billion shares of common stock
  13
       outstanding as of November 17, 2021;
  14
                   (c)    as a regulated issuer, Disney filed periodic public reports with
  15
       the SEC;
  16
                   (d)    Disney regularly communicated with public investors via
  17
       established market communication mechanisms, including the regular dissemination
  18
       of press releases on national circuits of major newswire services, the internet, and
  19
       other wide-ranging public disclosures; and
  20
                   (e)    unexpected material news about Disney was rapidly reflected in
  21
       and incorporated into the price for the Company’s common stock during the Class
  22
       Period.
  23
             82.   As a result of the foregoing, the market for Disney common stock
  24
       promptly digested current information regarding Disney from publicly available
  25
       sources and reflected such information in the price of Disney common stock. Under
  26
       these circumstances, all purchasers of Disney common stock during the Class Period
  27
  28

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   1 suffered similar injury through their purchases of Disney common stock at
   2 artificially inflated prices, and a presumption of reliance applies.
   3         83.   A presumption of reliance is also appropriate in this action under the
   4 Supreme Court’s holding in Affiliated Ute Citizens v. United States, 406 U.S. 128
   5 (1972), because plaintiff’s claims are based, in significant part, on defendants’
   6 material omissions. Because this action involves defendants’ failure to disclose
   7 material adverse information regarding Disney’s business, operations, and guidance,
   8 positive proof of reliance is not a prerequisite to recovery. All that is necessary is
   9 that the facts withheld be material in the sense that a reasonable investor might have
  10 considered them important in making investment decisions. Given the importance
  11 of defendants’ material misstatements and omissions set forth above, that
  12 requirement is satisfied here.
  13                      LOSS CAUSATION/ECONOMIC LOSS
  14         84.   During the Class Period, as detailed herein, defendants made false and
  15 misleading statements and engaged in a scheme to deceive the market and a course
  16 of conduct that artificially inflated the price of Disney common stock and operated
  17 as a fraud or deceit on Class Period purchasers of Disney common stock by
  18 misrepresenting the value of the Company’s business and prospects by concealing
  19 negative aspects of the Company’s streaming businesses.                As defendants’
  20 misrepresentations and fraudulent conduct became apparent to the market, the price
  21 of the Company’s common stock fell precipitously as the prior artificial inflation
  22 came out of the stock’s price. As a result of their purchases of Disney common stock
  23 during the Class Period, plaintiff and other members of the Class suffered economic
  24 loss, i.e., damages, under the federal securities laws.
  25                          CLASS ACTION ALLEGATIONS
  26         85.   Plaintiff brings this action as a class action pursuant to Federal Rule of
  27 Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all purchasers of
  28 the common stock of Disney during the Class Period (the “Class”). Excluded from

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   1 the Class are defendants, the officers and directors of the Company, at all relevant
   2 times, members of their immediate families, and their legal representatives, heirs,
   3 successors, or assigns, and any entity in which defendants have or had a controlling
   4 interest.
   5         86.   The members of the Class are so numerous that joinder of all members
   6 is impracticable. Throughout the Class Period, Disney common stock was actively
   7 traded on the NYSE. While the exact number of Class members is unknown to
   8 plaintiff at this time and can only be ascertained through appropriate discovery,
   9 plaintiff believes that there could be hundreds or thousands of members in the
  10 proposed Class. Record owners and other members of the Class may be identified
  11 from records maintained by Disney or its transfer agent and may be notified of the
  12 pendency of this action by mail, using the form of notice similar to that customarily
  13 used in securities class actions.
  14         87.   Plaintiff’s claims are typical of the claims of the members of the Class
  15 as all members of the Class are similarly affected by defendants’ wrongful
  16 statements and conduct in violation of federal law that is complained of herein.
  17         88.   Plaintiff will fairly and adequately protect the interests of the members
  18 of the Class and has retained counsel competent and experienced in class and
  19 securities litigation.
  20         89.   Common questions of law and fact exist as to all members of the Class
  21 and predominate over any questions solely affecting individual members of the
  22 Class. Among the questions of law and fact common to the Class are:
  23               (a)    whether the Exchange Act was violated by defendants as alleged
  24 herein;
  25               (b)    whether statements made by defendants misrepresented material
  26 facts about the business, operations, and prospects of Disney;
  27               (c)    whether defendants acted with scienter; and
  28

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   1                   (d)   to what extent the members of the Class have sustained damages
   2 and the proper measure of damages.
   3         90.       A class action is superior to all other available methods for the fair and
   4 efficient adjudication of this controversy since joinder of all members is
   5 impracticable. Furthermore, as the damages suffered by individual Class members
   6 may be relatively small, the expense and burden of individual litigation make it
   7 impossible for members of the Class to individually redress the wrongs done to them.
   8 There will be no difficulty in the management of this action as a class action.
   9                                           COUNT I
  10          For Violation of §10(b) of the Exchange Act and SEC Rule 10b-5
                                   Against All Defendants
  11
             91.       Plaintiff incorporates ¶¶1-90 by reference.
  12
             92.       During the Class Period, defendants disseminated or approved the
  13
       statements specified above, which they knew or deliberately disregarded were false
  14
       and misleading in that they contained misrepresentations and failed to disclose
  15
       material facts necessary in order to make the statements made, in light of the
  16
       circumstances under which they were made, not misleading.
  17
             93.       Defendants violated §10(b) of the Exchange Act and SEC Rule 10b-5
  18
       in that they:
  19
                       (a)   employed devices, schemes, and artifices to defraud;
  20
                       (b)   made untrue statements of material fact or omitted to state
  21
       material facts necessary in order to make the statements made, in light of the
  22
       circumstances under which they were made, not misleading; or
  23
                       (c)   engaged in acts, practices, and a course of business that operated
  24
       as a fraud or deceit upon plaintiff and others similarly situated in connection with
  25
       their purchases of Disney common stock during the Class Period.
  26
             94.       Plaintiff and the Class have suffered damages in that, in reliance on the
  27
       integrity of the market, they paid artificially inflated prices for Disney common
  28

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   1 stock. Plaintiff and the Class would not have purchased Disney common stock at
   2 the prices they paid, or at all, if they had been aware that the market prices had been
   3 artificially and falsely inflated by defendants’ false and misleading statements and
   4 fraudulent scheme.
   5                                         COUNT II
   6                      For Violation of §20(a) of the Exchange Act
                           Against Disney, Chapek, and McCarthy
   7
             95.    Plaintiff incorporates ¶¶1-94 by reference.
   8
             96.    Defendants Chapek and McCarthy acted as controlling persons of the
   9
       Company within the meaning of §20(a) of the Exchange Act. By reason of their
  10
       positions with the Company and/or ownership of Disney stock, these Individual
  11
       Defendants had the power and authority to cause the Company to engage in the
  12
       wrongful conduct complained of herein. The Company controlled the Individual
  13
       Defendants and all of its employees. By reason of such conduct, the defendants
  14
       named herein are liable pursuant to §20(a) of the Exchange Act.
  15
                                     PRAYER FOR RELIEF
  16
             WHEREFORE, plaintiff prays for relief and judgment, as follows:
  17
             A.     Determining that this action is a proper class action, designating
  18
       plaintiff as Lead Plaintiff and certifying plaintiff as a class representative under Rule
  19
       23 of the Federal Rules of Civil Procedure and plaintiff’s counsel as Lead Counsel;
  20
             B.     Awarding compensatory damages in favor of plaintiff and the other
  21
       Class members against all defendants, jointly and severally, for all damages
  22
       sustained as a result of defendants’ wrongdoing, in an amount to be proven at trial,
  23
       including interest thereon;
  24
             C.     Awarding plaintiff and the Class their reasonable costs and expenses
  25
       incurred in this action, including counsel fees and expert fees; and
  26
             D.     Awarding such equitable, injunctive, or other relief as deemed
  27
       appropriate by the Court.
  28

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   1                                   JURY DEMAND
   2        Plaintiff demands a trial by jury.
   3   DATED: May 12, 2023                        ROBBINS GELLER RUDMAN
                                                   & DOWD LLP
   4                                              BRIAN E. COCHRAN
   5
   6                                                        s/ Brian E. Cochran
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  25
  26
  27
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                    CERTIFICATION OF NAMED PLAINTIFF
                  PURSUANT TO FEDERAL SECURITIES LAWS

       Local 272 Labor-Management Pension Fund ("Plaintiff') declares:
        1.    Plaintiff has reviewed a complaint and authorized its filing.
       2.     Plaintiff did not acquire the security that is the subject of this action at
 the direction of plaintiff's counsel or in order to participate in this private action or
 any other litigation under the federal securities laws.
       3.     Plaintiff is willing to serve as a representative party on behalf of the
 class, including providing testimony at deposition and trial, if necessary.
       4.     Plaintiff has made the following transaction(s) during the Class Period
 in the securities that are the subject of this action: See attached Schedule A.
       5.     Plaintiff has not sought to serve or served as a representative party in a
 class action that was filed under the federal securities laws within the three-year
 period prior to the date of this Certification except as detailed below: None.
       6.     Plaintiff will not accept any payment for serving as a representative
 party on behalf of the class beyond the Plaintiffs pro rata share of any recovery,
 except such reasonable costs and expenses (including lost wages) directly relating
 to the representation of the class as ordered or approved by the court.
       I declare under penalty of perjury that the foregoing is true and correct .
                   .,,-t;;
 Executed this l-° ;,,-day of April, 2023.
                                                      abor-Man

                                         By:




                                                                                   DISNEY
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                                                   SCHEDULE A

                                         SECURITIES TRANSACTIONS

                             Stock

                             Date                      Amount of
                           Acquired                  Shares Acquired    Price

                          01/27/2021                      2,700        $163.54
                          01/28/2021                      1,500        $171.74
                          01/29/2021                      1,300        $166.43
                          02/03/2021                      2,600        $177.88
                          02/09/2021                      2,100        $188.47
                          01/06/2022                      1,600        $157.42
                          08/15/2022                      3,700        $124.31
                          11/04/2022                      2,000        $100.65

                             Date                      Amount of
                           Disposed                  Shares Disposed    Price

                          05/14/2021                      2,900        $172.27
                          07/29/2021                       100         $180.48
                          09/24/2021                       100         $175.55
                          12/17/2021                      1,900        $149.07
                          04/21/2022                       100         $121.62
                          06/10/2022                       100         $100.15
                          07/13/2022                       500         $92.81

Prices listed are rounded to two decimal places.

*Opening position of 6,300 shares.
